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                               UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF WASHINGTON
 9
       UNITED STATES OF AMERICA,                )
10                                              )     No. CR-07-038-RHW-3
                         Plaintiff,             )
11                                              )     ORDER DENYING THE
       v.                                       )     DEFENDANT’S MOTION TO MODIFY
12                                              )
       JAMIE VAUDEEN WHITTENBURG,               )
13                                              )
                         Defendant.             )
14                                              )

15          At the December 12, 2007, hearing on Defendant’s Motion to

16    Modify (Ct. Rec. 188), Assistant U.S. Attorney Joseph H. Harrington

17    appeared    for   the    United   States.       Defendant     was   present   with

18    Assistant Federal Defender Kimberly A. Deater.

19          The court finds that Defendant was convicted of Conspiracy to

20    Commit Armed Bank Robbery, but acquitted of two other charges.                    On

21    November 1, 2007 (Ct. Rec. 159), Chief Judge Whaley denied the

22    United States’ motion to detain and determined it was appropriate

23    for Defendant to remain subject to the same conditions of release

24    previously set.

25          Defendant asks that the conditions of release be modified to

26    allow her to reside in Newport, Washington, with her spouse and

27    children.     The undersigned is unable to conclude, based on the

28    present record, that the earlier set conditions of release should be

      ORDER DENYING THE DEFENDANT’S MOTION TO MODIFY - 1
     Case 2:07-cr-00038-RHW   ECF No. 197   filed 12/12/07   PageID.623 Page 2 of 2




 1    disturbed.
 2         Accordingly, the Defendant’s Motion (Ct. Rec 188) is DENIED.
 3         IT IS SO ORDERED.
 4         DATED December 12, 2007.
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 6                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING THE DEFENDANT’S MOTION TO MODIFY - 2
